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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ARYAMAN SHANDILYA, et ail,

Plaintiffs, Civil Action No. 2:25-cv-477
Vv. Hon. William S. Stickman IV

KRISTI NOEM, ef al,

Defendants.

ORDER OF COURT

AND NOW, this 25 day of April 2025, IT IS HEREBY ORDERED that, in light of the
Government’s announced policy change with respect to SEVIS status, and, specifically, the SEVIS
status of those who have filed challenges to the Government’s actions with respect to the same,

the parties are directed to inform the Court by close of business on April 28, 2025, as to (1) whether

they believe that Plaintiffs’ claims in this action are moot and (2) whether the hearing scheduled

for April 30, 2025, remains necessary.

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE
